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                                                                                              FILED
                                                                                         IN OPEN COURT


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                    IN THE UNITED STATES DISTRICT COURT FOR TJ-IE                 CLERK, U.S. DISTRJCT COURT
                                                                                    ALEXANDRIA. VIR lNIA
                            EASTERN DISTRICT OF VJRGINf A

                                   ALEXANDRIA DIVISION

UNITED STATES OF AfvffiRICA

               v.                                    Case No. 1 :24-CR-212

XAVIER DEJUAN JACKSON,

               Defendant.


                                   STA TEMENT OF FACTS

       The United States and the defendant, XAVIER DEJUAN JACKSON, agree that at trial,

the United States would have proven beyond a reasonable doubt and with admissible and

credible evidence that, from at least January J 3, 2024, until on or about January 29, 2024, in the

Eastern District of Virginia, and elsewhere, the defendant did attempt to and did employ, use,

persuade, induce, entice, and coerce a minor, NilNOR VICTIM ] , to engage in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct, knowing and having

reason to know that that such visual depiction would be transported and transmitted using any

means and facility of interstate and foreign commerce and in and affecting interstate and foreign

commerce, and that such visual depiction ,vas produced and transmitted using materials that had

been mailed, shipped, and transported in and affecting interstate and foreign commerce by any

means, including by computer, and that visual depiction had actually been transpmied and

transmitted using any means and facility of interstate commerce and affecting interstate and

foreign commerce, to wit: video and image files depicting MINOR VICTIM 1 engaged in

sexually explicit conduct produced using a cell phone.
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